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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA


                  ORDER SETTING DISCOVERY PROCEDURES

        THIS CAUSE is before the Court following the referral of this action for all

 discovery matters. In order to facilitate the speedy and inexpensive resolution of this

 action, Fed. R. Civ. P. 1, it is hereby

         ORDERED AND ADJUDGED that the following discovery procedures will

 apply in this case as of the date of this Order:

 1.     The Court strictly enforces the guidelines on discovery objections set forth

 below, together with the provisions of the Federal Rules of Civil Procedure addressing

 discovery matters, Rules 26-37, and S.D. Fla. Local Rule 26.1:

                 “Vague, Overly Broad and Unduly Burdensome”

        a.     Parties shall not make conclusory boilerplate objections.           Such

 objections do not comply with Local Rule 26.1(G)(3)(a) which provides “Where an

 objection is made to any interrogatory or sub-part thereof or to any document request

 under Fed.R.Civ.P. 34, the objection shall state with specificity all grounds.” Blanket,

 unsupported objections that a discovery request is “vague, overly broad, or unduly

 burdensome” are, by themselves, meaningless, and disregarded by the Court. A party

 objecting on these bases must explain the specific and particular ways in which a

 request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P. 33(b)(4);

 Josephs v. Harris Corp, 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a

 party that the interrogatory was ‘overly broad, burdensome, oppressive and
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 irrelevant’ is not adequate to voice a successful objection to an interrogatory.”).

 Sworn testimony or evidence may be necessary to show that a particular request is

 in fact burdensome.

 “Irrelevant Or Not Reasonably Calculated to Lead to Admissible Evidence”

       b.     As with the previous objection, an objection that a discovery request is

 irrelevant or not reasonably calculated to lead to admissible evidence must include a

 specific explanation describing why the request lacks relevance, and why the

 information sought will not reasonably lead to admissible evidence. Parties are

 reminded that the Federal Rules allow for broad discovery, which does not need to be

 admissible at trial. See Fed. R. Civ. P. 26(b)(1); see Oppenheimer Fund, Inc. v.

 Sanders, 437 U.S. 340, 351-52 (1978).

                        Specificity and Scope of Objections

       c.     Parties should avoid reciting a formulaic objection (or worse “General

 objections”) followed by an answer to the request. It has become common practice for

 a party to object on the basis of any of the above reasons, and then state that

 “notwithstanding the above,” the party will respond to the discovery request, subject

 to or without waiving such objection.      Such a boilerplate objection and answer

 preserves nothing, and constitutes only a waste of effort and the resources of both the

 parties and the court. Further, such practice leaves the requesting party uncertain

 as to whether the question has actually been fully answered, or only a portion of it

 has been answered. Civil Discovery Standards, 2004 A.B.A. Sec. Lit. 18. Counsel

 shall include in the answer a clear statement that all responsive

 documents/information identified have in fact been produced/provided, or
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 otherwise describe the category of documents/ information that have been

 withheld on the basis of the objection.

                         Objections Based upon Privilege

       d.     Generalized objections asserting attorney-client privilege or work

 product doctrine also do not comply with local rules. Local Rule 26.1(e)(2)(B) requires

 that objections based upon privilege identify the specific nature of the privilege being

 asserted, as well as identifying such things as the nature and subject matter of the

 communication at issue, the sender and receiver of the communication and their

 relationship to each other, among others. Parties are instructed to review this Local

 Rule carefully, and refrain from objections in the form of: “Objection.            This

 information is protected by attorney/client and/or work product privilege.”

             Objections to Scope of 30(b)(6) Notices for Depositions

       e.     Corporations are not entitled to review of anticipatory relevance

 objections prior to the taking of a corporate representative deposition. Objections to

 the scope of a deposition notice shall be timely served (not filed) in advance of the

 deposition. See King v. Pratt & Whitney, 161 F.R.D. 475 (S.D. Fla. 1995); New World

 Network Ltd. v. M/V Norwegian Sea, 2007 WL 1068124, at *2-3 (S.D. Fla. 2007).

                       Sequencing and Timing of Discovery

       f.     The parties are reminded to comply with Rule 26(d)(3) that grants all

 parties the right to sequence their own discovery, which means that one party’s

 discovery does not require any other party to delay its discovery. The Court regularly

 enforces this Rule. Relatedly, the parties shall not wait until the end of the discovery

 period to begin taking any depositions. The failure to complete depositions before the
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 cutoff when that occurs is not grounds for good cause to extend the discovery period.

 To that end, the Court will strictly enforce Rule 26(a)(1) that sets forth the “Required

 Disclosures” that shall be made at the inception of the discovery period. If a party

 receives inadequate or untimely disclosures that matter shall be promptly raised with

 the Court, after conferral and if agreement is not timely reached on resolution. This

 Rule contemplates that the most relevant documents from each party shall be

 disclosed and produced at an early stage of the case, at which point relevant

 depositions should be scheduled. The Court will compel supplemental depositions in

 the event that Rule 26(a)(1) was not properly followed.

                            Burden to Sustain Objections

       g.     In the event of an unresolved discovery dispute, to show that the

 requested discovery is objectionable the burden is on the objecting party to

 demonstrate with specificity how the objected-to request is unreasonable. Rossbach

 v. Rundle, 128 F. Supp. 2d 1348, 1354 (S.D. Fla. 2000); Dunkin’ Donuts, Inc. v. Mary’s

 Donuts, Inc., 2001 WL 34079319 (S.D. Fla. 2001); Milinazzo v. State Farm Ins. Co.,

 247 F.R.D. 691, 695 (S.D. Fla. 2007). Failure to satisfy this burden will result in entry

 of an order compelling discovery under Rule 37. Failure to show that the objecting

 party’s position was substantially justified may result in entry of monetary sanctions

 under that Rule. If the burden to sustain an objection is satisfied, the requesting

 party will have to show with specificity how the information is relevant and

 necessary, and proportional to the particular needs of the case. Henderson v. Holiday

 CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010); Lombardi v. NCL (Bahamas) Ltd.,

 2015 WL 12085849, at *1 (S.D. Fla. 2015) (citing 2015 Amdt. Rule 26(b)).
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 2.    If a bona fide discovery dispute arises notwithstanding these guidelines, the

 parties must first confer in a good faith effort to resolve the dispute in compliance

 with S.D. Fla. L.R. 7.1(a)(3). Counsel must under this Local Rule certify that good

 faith efforts were made. An adequate certificate of conference almost always requires

 at least one, if not more, personal communications between counsel.             Note,

 especially, that un-responded to emails are not enough to satisfy counsel’s

 obligations under this Rule. The Court will deem an issue waived if counsel fails

 to abide by this obligation or fails to certify compliance with the Rule.

       Discovery disputes must be raised timely as required by S.D. Fla. L.R.

 26.1(g)(2). The Court strictly enforces this Rule, and interprets the twenty-eight-

 day window as the opportunity during which good faith resolution efforts must be

 made (subject to the seven-day agreed extension permitted by the rule). See also

 Local Rule 26.1(g)(2)(D). Unapproved extensions agreed to by the parties shall not

 be recognized. The Court also enforces Rule 26.1(d) that requires that all discovery,

 including resolution of discovery disputes, be fully completed prior to the expiration

 of the discovery cutoff. The parties are generally free to engage in agreed-upon

 discovery after the cutoff date; but under Rule 26.1(d) no Court intervention or

 remedy will be available to either party after the cutoff date.
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 3.    Except as provided below, discovery disputes shall not be raised by

 filing substantive discovery motions under Rule 37. The briefing provision

 in Amended Rule 26.1(g)(3) shall thus not apply for purposes of this action.

       a.     Any substantive discovery motion filed on the docket shall be Stricken.1

 In lieu of traditional motion practice, a regular discovery calendar shall be held

 every Thursday, from 10:00 a.m. to 3:00 p.m., at the James Lawrence King

 Federal Justice Building, 99 NE 4th Street, Tenth Floor, Courtroom 5, Miami, Florida

 33132.

       b.     The party seeking to enforce a discovery obligation or obtain protection

 from such an obligation shall utilize the discovery calendar process. After conferring

 with the opposing party to confirm available dates, the moving party shall contact the

 undersigned’s Chambers at (305) 523-5750 to place the matter on the next available

 discovery calendar. The movant must contact Chambers no later than noon on the

 Friday preceding the discovery calendar to schedule a time on that week’s calendar.

 Ordinarily, no more than thirty (30) minutes of argument per side is permitted.

       c.     On the same day that the Court confirms an available time on the

 discovery calendar, the movant will file a Motion for Hearing reflecting the confirmed

 date and time. This motion shall also set forth the category of the discovery matters

 to be heard and the status of the parties’ pre-filing efforts as to that issue/request.



       1 This restriction does not apply to motions to stay discovery altogether (which

 are often premised on pending dispositive motions that are believed to moot the
 necessity of any and all forms of discovery). Such motions for a blanket stay are not
 deemed “discovery motions” for purposes of this Standing Order and may be filed on
 the docket for the District Judge’s consideration.
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 The Motion for Hearing shall include a certificate of conferral that fully complies with

 Local Rule 7.1(a)(3).    Failure to do so may result in denial of the motion and

 cancellation of the hearing unless timely cured.

        d.     Apart from filing the motion for hearing, the moving party(ies) shall

 provide the undersigned a copy of all source materials relevant to the discovery

 dispute, via hand-delivery or through a scanned PDF document that is emailed to the

 CM/ECF mailbox (torres@flsd.uscourts.gov), no later than noon on the Monday

 preceding the noticed hearing. (For example, if the dispute concerns interrogatories,

 the interrogatories at issue and the response thereto, shall be provided to the

 undersigned’s Chambers.)       A proposed Order on the issues raised shall also be

 submitted together with the source materials, which shall set forth the specific relief

 requested for each request/category of request. Failure to comply with all three

 elements of this procedure may be grounds to cancel the hearing. If the

 parties are able to resolve/narrow the pending disputes before the scheduled

 hearing, they should promptly advise the Court.

        e.     With respect to issues involving privilege disputes, the party with the

 burden of persuasion on a privilege claim has the obligation to present to the Court,

 no later than the time of the hearing, sworn evidence if necessary to satisfy that

 burden. The failure to present that sworn evidence by the scheduled hearing may be

 deemed by the Court a waiver of the privilege absent a showing of good cause. The

 sworn evidence should be included with the materials emailed to counsel, as well as

 filed on the docket as a notice of filing.
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       f.     Following the hearing, a “motion for entry” of an amended proposed

 order (that reflects the Court’s rulings during the hearing) will be filed on the docket

 no later than two business days thereafter.

 4.    Exceptions for written objections to the timing of depositions. If a

 motion for protective order is required for a particular dispute under Rule 26(c), Rule

 30(d)(3), or Local Rule 26.1(h), a notice of objection must be served (not filed) on the

 opposing party no later than five days after receipt of the deposition notice at issue.

 Such a notice may not be submitted on the eve of the event. The failure to timely

 preserve an objection as per this Order may be deemed a waiver. But if a good faith

 deposition scheduling dispute arises prior to a deposition, the service of the written

 notice of objections, followed by a good faith conference to resolve the dispute, will be

 sufficient to preserve the issues involved without fear of waiver prior to the Court

 resolving the dispute at a discovery conference. If the parties do not thereafter reach

 agreement to resolve the dispute, the objecting party shall schedule the matter at the

 next available discovery calendar. Rule 37, however, continues to apply to such

 objections; thus if the Court finds that the objections were not substantially justified

 the failure to comply with a timely served Rule 30 deposition notice may be sanctioned

 appropriately. Consistent with paragraph 1.e above, any objections to the scope of a

 Rule 30(b)(6) deposition notice shall only be adjudicated after the taking of the

 deposition so that a sufficient record exists with which to analyze the dispute.

 5.    To reiterate, the Court expects all parties to engage in reasonable compromise

 to facilitate the resolution of their discovery disputes. The Federal Rules contemplate

 that discovery in most cases should be conducted without court intervention. The
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 Court may impose sanctions, monetary or otherwise, if the Court determines

 discovery is being improperly sought or is being withheld in bad faith or without

 substantial justification. See Fed. R. Civ. P. 37.

       DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of

 APRIL, 2024.




                                           /s/ Edwin G. Torres
                                         EDWIN G. TORRES
                                         Chief United States Magistrate Judge
